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QQ\\ IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
EQUAL EMPLOYMENT }
OPPORTUNITY COMMISSION, }
} Civil Aetion No.
Plaintil`f, }
} 3:16~CV-3328-K
v. }
}
OFF THE AIR II, INC., d/b/a }
NICK’S SPORTS GRILL, }
}
Defendant. }
}

 

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This Consent Decree is made and entered into between the Plaintiff, the Equal
Employment Opportunity Commission (“EEOC"), and the Defendant, OH` the Air II, Inc., d/b/a
Nick’s Sports Grill (hereinafter collectively referred to as “the parties”).

The EEOC instituted a lawsuit in the United States District Court for the Northem
Distn`ct of Texas, Dallas Division, Civil Action Number 3:16-CV-03328-K against Defendant,
alleging that the Defendant violated Title VII of the Civil Rights Act of 1964 (“Title VII”) when
it terminated Taylor King’s employment because of her pregnancy Defendant has denied the
al legations.

'l`he parties hereto desire to compromise and settle the differences embodied in the
aforementioned lawsuit, and intend that the terms and conditions be set forth in this Consent
Decree.

NOW, THEREFOR.E, in consideration of the mutual promises and agreements set forth
herein, the sut`Hciency of which is hereby acknowledged, the parties agree as follows, the court

finds appropriate, and therefore, it is ORDERED, ADIUDGED AND DECREED that:

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This Court has jurisdiction to enforce the provisions set forth in this Consent
Decree.

This Consent Decree resolves all issues, including all like and related issues,
raised in EEOC Charge Number 846-2014-23409. This Decree further resolves
all issues in the Complaint filed by the Commission. The Commission does not
waive processing or litigating charges or cases other than the above-referenced
charges and Complaints.

Defendant is enjoined from discriminating on the basis of gender with respect to
subjecting employees to adverse employment actions because of their pregnancy,
and from retaliating in any way against any person because of opposition to any
practice declared unlawful under Title VII or because of the filing of a charge,
giving testimony, or assisting or participating in any manner in any investigation,
proceeding or hearing.

Defendant agrees to post the Notice appended hereto as Attachment “A" on the
employee bulletin board at its restaurant within 10 days after the entry of this
Consent Decree. Defendant will report to the EEOC that it has complied with this
requirement within 30 days after posting the notice.

Within 30 days after entry of this Consent Decree, Defendant agrees to distribute
to all employees, ona separate sheet of paper, the specific parts of its employee
handbook entitled “Equal Employment Opportunity Employer" (located on page

6) and “Open Door Policy (on p. 10). The footnote regarding “False accusations"

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on the bottom of page 10 will be permanently excised from its policy and shall
not be included in the handout referenced in this paragraph.

6. For the first two years that this Consent Decree is in effect, Defendant agrees to
conduct annual training for all employees (including owner Nick Mehmeti, the
General Manager and all supervisors) employed at Defendant’s restaurant in
Rowlett, Texas, advising them of the requirements and prohibitions of Title VII of
the Civil Rights Act of 1964. The training will inform the employees of the
complaint procedure for individuals who believe that they are being discriminated
against by Nick’s Sports Grill. This annual training will also advise employees of
the consequences imposed upon Nick’s Sports Grill for violating Title VII. The
training will also include a specific discussion or instruction relating to the
prohibition of discrimination against pregnant employees. The training shall be at
least one hour in duration. No less than 10 days before the training is conducted,
Defendant agrees to give written notice to the EEOC as to the date and location of
the training, the name and qualifications of the person providing the training and
the substance of the training. All materials used in conjunction with the training
shall be forwarded to the EEOC. Within 20 days following the training,
Defendant shall submit to the EEOC continuation that the training was conducted,
and a list of attendees.

7. Defendant agrees to pay Taylor ang the gross sum of $24,000.00 in full and final
settlement of the claims asserted in this dispute. The amount of $16,000.00

represents non-pecuniary compensatory and punitive damages, and $8,000.00 of

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this amount represents back pay, subject to payroll withholdings. A W-2 for the

back pay and IRS l099 for the damages shall be forwarded to Taylor King in the

ordinary course of business.

a. Payments shall be made in equal amounts of $4,000.00, by check payable to
Taylor King, sent by certified mail to Taylor King, c/o Linda Moore, 3505
Augusta Trail, Rockwall, TX 75087, postmarked on or before the first of each
month of April, May, June, July, August and September. Where the first of
the month falls on a weekend, the payment shall be postmarked on or before
the first work day thereafter.

b. The last two payments (due August 1, 2018 and September 2, 2018) shall
represent back wages from which legal deductions will be made.

c. ACQELERATION CLAUSE: Late payment, or failure to pay, any
installment listed in Paragraph 7 shall accelerate the due date for the
remaining payments, and the entire settlement sum shall become due and
payable immediately Upon notification by the Charging Farty of a payment
being overdue, the EEOC will give the Defendant notice by email and
Defendant shall have 3 business days in which to cure the failure to pay before
proceeding with payment acceleration or enforcement proceedings in federal
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d. Defendant shall pay interest at the rate calculated pursuant to 26 U.S.C. §
6621(b) on any late or unpaid amounts; and bear any additional costs incurred

by the EEOC caused by the non-compliance or delay of the Defendant.

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e. Defendant shall report to the EEOC within l0 days of the last payment in this
Decree and no later than September l2, 2018, that all payments in Paragraph
7a have been made.

As to each informal or formal charge or complaint alleging pregnancy

discrimination by any current employee during the pendency of this Consent

Decree, Defendant agrees to provide a report to the Dallas District Office of the

EEOC, including the identity of the claimant, job title of the claimant, and all

facts and circumstances surrounding the complaint, including the date(s) of the

alleged unlawful conduct.

Defendant shall impose discipline - up to and including termination, suspension

without pay or demotion - upon any General Manager or supervisor who is found

by reasonable evidence to have engaged in discrimination on the basis of sex,
including pregnancy discrimination, or permitted any such conduct to occur in his
or her work area or among employees under his or her supervision Defendant
shall communicate this policy to all of their supervisors, including the General

Manager.

Defendant shall remove from any personnel files relating to Taylor King all

documents, enn’ies, and references relating to the matters underlying the issues

leading to the underlying Charge of Discrimination and this lawsuit.

Defenth shall provide Taylor King with a neutral letter of reference including

her dates of employment and positions held.

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Defendant agrees to report to the EEOC within 30 days of entry of this Consent
Decree regarding its compliance with the arrangements set forth in paragraphs 4,
5, lO, and ll above. All reports to the EEOC required by this Decree shall be
sent to Toby W. Costas, Legal Unit, EEOC, 207 S. Houston Street, El"1 Floor,
Dallas, 'I`exas 75202.

The parties agree to bear their own costs associated with this action, including
attomey’s fees§

The Commission has the right to specifically enforce the terms of this Decree.
Nothing in this Consent Decree can preclude further actions by the EEOC or any
other person to remedy any other alleged violations of Title VII by Defendant
The effective date of this Decree shall be the date upon which it is signed for
approval by the Court.

The term of this Decree shall be for 3 years from the effective date. The Court
shall retain jurisdiction to enforce the terms of this Decree until the expiration of

the term of the Consent Decree.

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Oklahoma State Bar No. 011782

 

 

 

 

TOBY . COSTAS

Texas State Bar No. 04855720

EQUAL EMPLOYMENT OPPORTUNI'I'Y
COMMISSION

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Dallas District Office

207 South Houston Street, 3rd Floor
Dallas, Texas 75202

Phone: (214) 253-2760

Fax: (2|4) 253-2749

ATTORNEYS FOR PLAINTIFF EEOC

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Texas § No. 00974580

Sheils 'innubst, P.C.

1701 ' . Collins Blvd., Suite 1100
Richardson,'I'X 75080

ATTORNEYS FOR DEFENDAN'I`
OFF THE A[R H, INC., d/b/a NICK’S SPORTS

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NOTlCE AS R.EQUIRED UNDER TITLE VII

OF THE CIVIL RIGH'I`S ACT OF 1964 AS AMENDED
__________J_________~

'Ihis NOTICE to all employees of Off the Air II, lnc., d/b/a Nick’s Sports Grill is being posted as
part of a Consent Decree between Off the Air II, lnc., d/b/a Nick’s Sports Grill and the United
States Equal Employment Opportunity Commission.

l. Federal Law requires that there be no discrimination against any employee or applicant
for employment because of that person’s gender (including pregnancy), race, eolor,
religion, national origin, age or disability with respect to hiring, compensation,
promotion, discharge or other terms, conditions or privileges of employment

2. Off the Air II, Inc., d/b/a Nick’s Sports Gn’ll strongly supports and will comply with such
Federal Law in all aspects and it will not take any action against employees because they
have exercised their rights under the law by filing charges with the United States Equal
Employment Opportunity Commission.

3. Off the Air ll, lnc., d/b/a Nick’s Sports Grill will not tolerate pregnancy discrimination,
sex-based discrimination and/or retaliation in the workplace Employees are now put on
notice that the first violation of the company’s pregnancy discrimination policy will
subject an employee found to have violated the policy to disciplinary action,

4. Of`f the Air lI, lnc., d/b/a Nick’s Sports Grill agrees to provide a copy of this notice to
each current employee and it will report that it has complied with this requirement within
14 days after it has made the distribution Off the Air II, lnc., d/b/a Nick’s Sports Grill
also agrees to provide a copy of this notice to all new employees at the time of hire.

5. Employees may report violations of the company’s pregnancy discrimination policy to
Nick Mehmeti, (972) 591-7412 and/or the Dallas District Of`fice of the United States
Equal Employment Opportunity Commission, 207 South Houston Street, Thircl Floor,
Dallas, Texas 75202 (2|4) 253-2700.

6. 'I`his NOTICE will remain posted until April l, 2021 as provided in the Consent Decree.

Attachment “A"

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